61 F.3d 900
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Michael Wayne MONTGOMERY, Plaintiff-Appellant,v.Carroll CAMPBELL, Governor of the State of South Carolina;T. Travis Medlock, Attorney General of the State of SouthCarolina;  William D. Catoe, Deputy Commissioner for SouthCarolina Department of Corrections;  Parker Evatt,Commissioner of the South Carolina Department ofCorrections;  john Doe, Employees of the South CarolinaDepartment of Corrections, Defendants-Appellees.
    No. 94-7493.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 23, 1995.Decided:  July 26, 1995.
    
      Michael Wayne Montgomery, Appellant Pro Se.  William Henry Davidson, II, Andrew Frederick Lindemann, Ellis, Lawhorne, Davidson, Sims, Morrison &amp; Sojourner, P.A., Columbia, SC, for Appellees.
      Before HALL, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Michael Montgomery appeals from the district court's order adopting the magistrate judge's decision denying his request for a preliminary injunction as well as various pretrial motions filed by Montgomery in connection with his complaint filed under 42 U.S.C. Sec. 1983 (1988).  This Court may exercise jurisdiction only over final orders under 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders.  28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order, except to the extent that it denies Montgomery's request for a preliminary injunction.  We have reviewed the district court's reasons for denying injunctive relief, however, and find no reversible error.
    
    
      2
      We therefore affirm the district court's denial of Montgomery's request for a preliminary injunction, and dismiss the remainder of this appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and would not aid the decisional process.
    
    AFFIRMED IN PART, DISMISSED IN PART
    